Case 2:05-cv-02288-SHI\/|-dkv Document 14 Filed 09/02/05 Page 1 of 2 Page|D 9

-Fu£r) ar ,, r.).c.

UNITED STATES DISTRICT COURT

05 S "' o
FOR THE WESTERN DISTRICT oF TENNESSEE EP 2 PH h‘ 20

WESTERN DIVISION ;~HO;,M y
coat us cashier mgm
LAWRENCE GlLPIN, ) ita C';"-' -',;g.i.,g;>H;g
Plaimiff, )
)
v. ) Civil Action No. 05-2238 Ma v
)
CoMMISSloNER oF SOCIAL )
SECURITY, )
Defendant. )

 

ORDER

 

On motion of counsel for Defendant it is hereby
ORDERED that the Supplementa] administrative record be entered and affixed to

defendant’s answer filed on June 28, 2005.

ENTEREDthiS l-Fl' day of S"'{L*"'L‘*’ bo¢:%

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

Ti:l:> ;,!`UCL=;.‘.¢|E 'i

T\`.. -'\ v ‘.i.pn¢mca
With HUFB 5`0 di'iLi/'o: /:.‘(;1, mm -.m__i._.?' ¢S) 625

DISTRCIT OURT - WESTRNE D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02288 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

Lester T. Wener
MCWHORTER & WENER
100 N. Main Street

Ste. 1234

Memphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

